Case 3:09-cv-01368-L-BN Document 64 Filed 08/11/14       Page 1 of 12 PageID 810


                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION

PATRICK HENRY MURPHY,               §
            Petitioner,             §
                                    §        Civil Action No. 3:09-cv-1368
v.                                  §      (Magistrate Judge David L. Horan)
                                    §
WILLIAM STEPHENS,                   §       * DEATH PENALTY CASE *
Director, Texas Department          §
of Criminal Justice,                §
Correctional Institutions Division, §
                  Respondent.       §

RESPONDENT’
RESPONDENT’S OPPOSITION TO PETITIONER’S MOTION TO PROCEED
        EX PARTE FOR FUNDING FOR A PTSD EXPERT

      This is a federal habeas corpus proceeding brought by Petitioner Patrick

Murphy, a death-sentenced Texas inmate.          On July 18, 2014, this Court

entered an order setting an evidentiary hearing to determine (1) whether

Murphy has set forth any substantial claim of ineffective assistance of trial

counsel (IATC) in his federal habeas petition, and (2) whether any such claim

was not properly presented to the state court because of the ineffective

assistance of state habeas counsel. Docket Entry (DE) 61. In that order, the

Court stated that any requests for funds for assistance in preparing for the

hearing must be filed by August 5, 2014.           Id.   Murphy did just that,

requesting leave to file an ex parte application for the services of a psychiatrist

with expertise in post traumatic stress disorder. DE 62. But as discussed

below, he fails to demonstrate a need for confidentiality or that the requested

funding is reasonably necessary to litigate the above-mentioned issues. As

such, both of his requests should be denied.
 Case 3:09-cv-01368-L-BN Document 64 Filed 08/11/14    Page 2 of 12 PageID 811


                                 ARGUMENT

I.    The Director Opposes Murphy’s Request for Leave to File Ex Parte.
                                                                 Parte.

      As a threshold matter, the Director is opposed to granting Murphy the

right to proceed ex parte. To request the assignment of funds in an ex parte

proceeding, the applicant must make a proper showing “concerning the need

for confidentiality.” 18 U.S.C. § 3599(f). District courts in this circuit have

articulated the procedure to be followed when a habeas petitioner seeks leave

to proceed ex parte under 18 U.S.C. § 3599:

      First, Petitioner must file and serve a concise motion seeking
      authorization for investigative or expert assistance that includes a
      short, case-specific statement of the need for confidentiality.
      This statement of the need for confidentiality must generically
      identify the type of services needed and the broad issue or topic
      (for example, innocence) for which the services are needed.
      Second, Petitioner must simultaneously file ex parte and under
      seal his detailed application for authorization for the investigator
      or expert. In this application, Petitioner must estimate the
      amount of fees or expenses likely to be incurred and provide
      factual support for the funding request. The motion--but not the
      application with supporting materials--must be served upon
      Respondent.

Shields v. Johnson, 48 F.Supp.2d 719, 720 (S.D. Tex. 1999) (citing Patrick v.
Johnson, 37 F.Supp.2d 815, 816 (N.D. Tex. 1999) (citing Dowthitt v. Johnson,
No. H-98-3282 (S.D. Tex. Dec. 2, 1998))); see also Graves v. Johnson, 101

F.Supp.2d 496, 499 (S.D. Tex. 2000).

      Congress does not condone ex parte proceedings on federal habeas

review without requiring the petitioner to make a “proper showing . . .

concerning the need for confidentiality.”      18 U.S.C. § 3599(f).     Despite

extensive discussion of the propriety of mandating a threshold showing of the
Case 3:09-cv-01368-L-BN Document 64 Filed 08/11/14     Page 3 of 12 PageID 812


need for confidentiality before the petitioner may communicate with the court

ex parte, Congress included the threshold language in the statute. The Fifth

Circuit has also noted Congress’s deliberate weakening of the ex parte

standard with the enactment of the AEDPA. Fuller v. Johnson, 114 F.3d 491,

502 (5th Cir. 1997). Before AEDPA, the statute required the courts to allow

an ex parte communication once the petitioner met the threshold showing of a

need for confidentiality; since AEDPA, the courts may allow an ex parte

communication if the petitioner meets the threshold showing. Id. at 502 (“In

1996, the AEDPA section 108 changed 848(q)(9), removing the ex parte

proceeding requirement and changing the mandatory ‘shall’ language to the

discretionary ‘may.’”). The statute now allows the district court discretion to

grant or deny an ex parte communication even if the petitioner meets the

threshold showing of the need for confidentiality. Thus, even if Murphy met a

threshold showing, which he has not, this Court need not allow an ex parte

communication.

      While it appears Murphy has attempted to comply with the procedure

outlined in Shields, he nevertheless does not set forth a case-specific showing

of need for confidentiality in his request for assistance under § 3599. In only

one sentence, he identifies generically the services needed and the broad issue

or topic for which the services would be valuable—the services of a psychiatrist

with expertise in PTSD to assist him in developing an IATC claim already

before this Court. DE 62 at 2. He then states as his reason for requesting to

proceed ex parte a general “need to protect confidential attorney work

product.” Id. But this is hardly a case-specific reason for confidentiality.
Case 3:09-cv-01368-L-BN Document 64 Filed 08/11/14         Page 4 of 12 PageID 813


Rather, both statements fail to offer any justification for confidentiality

beyond those which would arguably apply to all indigent capital habeas

petitioners. This matter is thus indistinguishable from the issue in Patrick,

in which the district court denied the petitioner’s request for leave to proceed

ex parte where the petitioner “assert[ed] only a generic need for confidentiality
which arises in virtually all capital cases.” 37 F.Supp.2d at 816; see Jones v.

Stephens, 4:05-cv-638, 2014 WL 2446116, at *2 (N.D. Tex. May 30, 2014
(rejecting the argument that the need to protect confidential work product

establishes a case-specific need).

      Further,   the   Director      has   an   interest   in   responding   to   an

inmate-petitioner’s request to proceed ex parte concerning his requests for

discovery and expert assistance, as the Director is often in the best position to

identify procedural issues that could bar or eliminate the need for factual

development. 1   Moreover, as the district court in Jones observed, funding

motions “have a significant potential for abuse when [the Director] is denied

the opportunity to address the accuracy of the assertions supporting them.”

Jones, 2014 WL 2446116, at *1 (citing Crawford v. Washington, 541 U.S. 36,
49 (2004)). As explained below, Murphy is not entitled to funding to further

develop his fully-briefed IATC claim, as he simply fails to articulate that such

funds are reasonably necessary for the upcoming evidentiary hearing.



      1    The issue is not simply one of how federal funds are allocated, but
rather whether and to what extent state prisoners are entitled to factual
development of their claims on federal habeas corpus review.

                                           4
 Case 3:09-cv-01368-L-BN Document 64 Filed 08/11/14        Page 5 of 12 PageID 814


II.   Murphy is not entitled to funding
                                funding for expert assistance.

      The decision to appoint an investigator or expert is within the discretion

of the district court. Hill v. Johnson, 201 F.3d 481, 487 (5th Cir. 2000); Fuller,

114 F.3d at 502. But a petitioner seeking such an appointment must make a

threshold showing that it is “reasonably necessary.”          18 U.S.C. § 3599(f);

Clark v. Johnson, 202 F.3d 760, 768 (5th Cir. 2000).2 The Fifth Circuit has
construed “reasonably necessary” to mean that a “substantial need” for the

requested services must be demonstrated. Riley v. Dretke, 363 F.3d 302, 307

(5th Cir. 2004) (quoting Clark, 202 F.3d at 768). In determining what is

reasonably necessary, courts have looked at whether the proposed services can

be tied to viable claims of constitutional violations.3 Fuller, 114 F.3d at 502.

For this reason, a denial of funding has been upheld when a petitioner has (a)

failed to supplement his funding request with a viable constitutional claim

that is not procedurally barred, or (b) when the sought after assistance would

only support a meritless claim, or (c) when the sought after assistance would

only supplement prior evidence. Woodward v. Epps, 580 F.3d 318, 334 (5th



      2    The statute also requires a showing of indigence. There is no question
that Murphy is indigent.

        3     Even if a petitioner can establish a nexus between the proposed services
and a viable constitutional violation, this Court has refused to sanction funding
“where the claims or proposed claims are procedurally barred or where the claim
itself would be futile.” Bradford v. Johnson, 162 F.Supp.2d 578, 580 (N.D. Tex. 2001)
(citing Fuller, 114 F.3d at 502). Further, if the services are only sought to go on a
“fishing expedition,” funding has been denied. Patrick v. Johnson, 48 F.Supp.2d
646, 647 (N.D. Tex. 1999) (statute not intended to provide funds to investigate claims
“founded on mere suspicion and surmise”).
                                            5
Case 3:09-cv-01368-L-BN Document 64 Filed 08/11/14       Page 6 of 12 PageID 815


Cir. 2009); Smith v. Dretke, 422 F.3d 269, 288 (5th Cir. 2005) (citations

omitted).4

      Here, it is clear from the record currently before the Court that

Murphy’s IATC claim is wholly without merit. As discussed thoroughly in the

Director’s answer, DE 40 at 82-85, Murphy fails to show that his trial counsel’s

performance was deficient or that he was prejudiced by any presumed

deficiency as required under the Strickland v. Washington5 standard. Id.

This means that Murphy is seeking funds that would ultimately help support

a meritless claim, something the Fifth Circuit has also determined warranted

the denial of funding. Woodward, 580 F.3d at 334; Smith, 422 F.3d at 288

(citations omitted).

      Furthermore, aside from baldly asserting the need for a PTSD expert

and citing the ABA’s guidelines as to what is expected of counsel in

post-conviction proceedings, DE 62 at 2, Murphy fails to show why funding for

such an expert is necessary at this late juncture.             This is for good

reason—counsel was already given a significant amount of time and money for

“developing, preparing, and litigating” this IATC claim. Id. Murphy was

      4      It is uncontested that the IATC claim that Murphy now wishes to
further develop was not presented in his state court proceedings. As a result, the
claim is procedurally barred under 28 U.S.C. § 2254’s prohibition against raising
unexhausted claims in a federal petition. DE 40 at 31-36; see Coleman v.
Thompson, 501 U.S. 722, 735 n.1 (1991); Williams v. Thaler, 602 F.3d 291, 305-06
(5th Cir. 2010). However, because the subject of the evidentiary hearing is whether
an exception exists to excuse the procedural bar, the Director will forego an
argument concerning the first reason for the denial of funding.

      5      466 U.S. 668 (1984).

                                        6
Case 3:09-cv-01368-L-BN Document 64 Filed 08/11/14      Page 7 of 12 PageID 816


appointed his current attorney to assist him in his federal habeas proceedings

almost five years ago, DE 3, and the docket indicates that counsel has received

at least $63,000 in order to investigate and present a federal petition on

Murphy’s behalf. DE 47. And counsel did just that, filing a well-briefed

petition raising five points of error (not including subparts like the IATC claim

at issue here) at the end of AEDPA’s one-year limitations period. DE 18. In

support of his petition, counsel also submitted some 39 exhibits, including a

declaration from a clinical psychologist explaining his opinion that Murphy

evinced symptoms that are often associated with PTSD. DE 18, Exhibit 34

It is thus facetious for Murphy to now argue that any funding is necessary to

further develop this claim, as he has already been given a significant amount

of time and money to do so.

      Finally, as this Court noted in its Order Setting Hearing, the purpose of

the upcoming evidentiary hearing is to determine, in part, whether Murphy

has already set forth a substantial IATC claim such that it may excuse a

procedural default. DE 61 at 6. It is not to see whether Murphy can turn his

claim into a substantial one if given enough time and money. And given the

fact that Murphy has already had the benefit of two psychologists—one to

assist trial counsel and one to assist federal habeas counsel—it is hard to

imagine that he could.     As such, because Murphy cannot demonstrate a

reasonable necessity for additional funding that would only go to support what

are clearly meritless allegations, his request should be denied. Woodward,

580 F.3d at 334.

                                       7
 Case 3:09-cv-01368-L-BN Document 64 Filed 08/11/14    Page 8 of 12 PageID 817


III.   Martinez has no application to funding.
       As discussed in previous pleadings, DE 59, the end result of the

Supreme Court’s decisions in Martinez v. Ryan6 and Trevino v. Thaler7 was

that Texas death-sentenced inmates can assert the ineffective assistance of

state habeas counsel to overcome a procedural bar applied to claims of

ineffective assistance of trial counsel. This is a limited and equitable––rather

than constitutional—exception that protects a petitioner from forfeiting

completely an IATC claim if the petitioner’s state habeas counsel failed to

raise the claim in state court and was ineffective for doing so. Trevino, 133 S.

Ct. at 1921; Martinez 132 S. Ct. at 1320. As the Court explained in Trevino,

it was concerned that the “failure [of a federal court] to consider a lawyer’s

‘ineffectiveness’ during an initial-review collateral proceeding as a potential

‘cause’ for excusing a procedural default will deprive the defendant of any

opportunity at all for review of an ineffective-assistance-of-trial-counsel

claim.” 133 S. Ct. at 1921 (emphasis added); see also Martinez 132 S. Ct. at

1316. But the Supreme Court created the Martinez exception to address that

concern and that concern only. 132 S. Ct. at 1320 (“The rule of Coleman

governs in all but the limited circumstances recognized here.”).

       In its limited holding, the Martinez Court described the only

consequence of a petitioner establishing cause and prejudice for a procedural

default: “A finding of cause and prejudice does not entitle the prisoner to

       6    132 S. Ct. 1309 (2012).

       7    133 S. Ct. 1911 (2013).

                                       8
Case 3:09-cv-01368-L-BN Document 64 Filed 08/11/14    Page 9 of 12 PageID 818


habeas relief. It merely allows a federal court to consider the merits of a

claim that otherwise would have been procedurally defaulted.” Martinez, 132

S. Ct. at 1320. In other words, the only remedy offered is federal merits

review of the otherwise procedurally defaulted IATC claims. Id.; see also

Trevino, 133 S. Ct. at 1921. Nowhere in either opinion did the Court even
mention funding or 18 U.S.C. § 3599, much less hold that the limited equitable

exception it was creating somehow also required investigative funding or

altered the mechanism for evaluating whether such funds were reasonably

necessary.   For this reason, the Fifth Circuit has recently concluded that

Martinez “has no bearing on the district court’s decision to deny funding.”
Crutsinger v. Stephens, __ Fed.Appx.__, 2014 WL 3805464 at 8 (5th Cir.
August 4, 2014) (finding that Martinez “does not mandate pre-petition

funding, nor does it alter our rule that a prisoner cannot show a substantial

need for funds when his claim is procedurally barred from review.”).

      Furthermore, any argument that Martinez now mandates the granting

of funds assumes that the Supreme Court silently overruled Congress’s

decision to allocate such decisions to the discretion of the district courts.

Through its passage of AEDPA in 1996, Congress indicated its intent that

funding not be made mandatory (in former 21 U.S.C. § 848(q)) by “changing

the mandatory ‘shall’ language to the discretionary ‘may.’” AEDPA § 108,

Pub. L. No. 104-32, 110 Stat. 1226 (1996); Smith, 422 F.3d at 289. The clear

language of 18 U.S.C. § 3599(f) now states that upon a finding that such

ancillary services are reasonably necessary, the district court may authorize

                                      9
Case 3:09-cv-01368-L-BN Document 64 Filed 08/11/14   Page 10 of 12 PageID 819


the granting of funds. This change from “shall” to “may” indicates Congress’s

desire that discretion be given to the district courts to authorize or deny

funding regardless of whether the reasonable necessity language is complied

with. Smith, 422 F.3d at 289.

      Because Martinez said nothing about whether ineffective state habeas

representation would entitle a petitioner to funding in federal court—only

whether such representation could possibly establish cause to excuse a

procedural default in federal court—any reliance on it would be misplaced.

To hold otherwise would reverse Congress’s decision to place the authorization

of pre-petition funding at the discretion of the district courts, and would

require the allocation of funding to every petitioner with an unexhausted

IATC claim, regardless of whether the claim has any merit or of the reasons

for the lack of exhaustion. Murphy’s motion for funding to further develop his

defaulted IATC claims should therefore be denied.

                                CONCLUSION

      For the foregoing reasons, both Murphy’s request to proceed ex parte

and his request for funding should be denied.



                                    Respectfully submitted,

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                                     10
Case 3:09-cv-01368-L-BN Document 64 Filed 08/11/14   Page 11 of 12 PageID 820


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                                    11
Case 3:09-cv-01368-L-BN Document 64 Filed 08/11/14     Page 12 of 12 PageID 821




                        CERTIFICATE OF SERVICE

      I certify that on the 11th day of August, 2014, a true and correct copy of

the above pleading was electronically served to the following counsel for

Murphy by filing the foregoing document with the Clerk of the Court for the

U.S. District Court, Northern District of Texas, using the electronic case filing

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                                       12
